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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                               Exhibit HH
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July 5, 2019


VIA E-MAIL


The Honorable Jerrold Nadler
Chairman
United States House of Representatives
Committee on the Judiciary
Washington, DC 20515-6216
HJUD.Correspondence@mail.house.gov

Re:     Written Questions for Ann Donaldson

Dear Chairman Nadler,

       Pursuant the agreement between the United States House of Representatives, Committee
on the Judiciary, and my client Ann Donaldson, reached in connection with the Committee’s
subpoena for her to appear for a deposition, enclosed please find Ms. Donaldson’s written
responses to the written questions received from Counsel to the Majority Staff of the Committee
on June 27, 2019.

      Also enclosed is a letter from Michael M. Purpura, the current Deputy White House
Counsel to the President of the United States, confirming that the White House has directed
Ms. Donaldson to refrain from providing substantive responses to certain questions. As agreed to
by the Committee, the White House has objected on a question-by-question basis, as if
Ms. Donaldson had appeared in person.


Sincerely,




Sandra L. Moser


      quinn emanuel urquhart & sullivan, llp
      LOS ANGELES | NEW YORK | SAN FRANCISCO | SILICON VALLEY | CHICAGO | WASHINGTON, DC | HOUSTON | SEATTLE | BOSTON | SALT LAKE CITY
      LONDON | TOKYO | MANNHEIM | HAMBURG | PARIS | MUNICH | SYDNEY | HONG KONG | BRUSSELS | ZURICH | SHANGHAI | PERTH | STUTTGART
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Enclosures


cc:   The Honorable Doug Collins, Ranking Member
      Barry H. Berke, Esq., Counsel to the Majority Staff
      Michael M. Purpura, Esq., Deputy White House Counsel to the President




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                             Responses by Ann Donaldson
                                To Questions from
           Committee on the Judiciary of the U.S. House of Representatives

                                        July 5, 2019

1.   Describe the process of how you were hired to work on the Donald J. Trump for
     President campaign (the “Trump Campaign”).

     RESPONSE: I was never hired to work on the Trump Campaign. Rather, I was
     an associate at Jones Day and, in that capacity, provided legal services to the
     Trump Campaign as a client of Jones Day.

2.   Did you meet then-candidate Trump prior to joining the Trump Campaign? When did
     you first meet then-candidate Trump and under what circumstances?

     RESPONSE: See Response to Question 1.

     I first met then-candidate Donald Trump at the Republican National Convention
     in Cleveland, Ohio while he was completing paperwork to access the ballot in
     various states as the Republican nominee for President of the United States.

3.   Confirm the dates during which you worked for the Trump Campaign.

     RESPONSE: See Response to Question 1.

4.   List all job titles you held for the Trump Campaign.

     RESPONSE: See Response to Question 1.

5.   Confirm the dates you worked at the White House.

     RESPONSE: January 20, 2017 – December 21, 2018

6.   List all job titles you held while at the White House and the corresponding dates of each
     job title held.

     RESPONSE: Deputy Assistant to the President, Special Counsel to the President
     and Chief of Staff to the White House Counsel, January 20, 2017 – February 22,
     2018

     Deputy Assistant to the President, Deputy Counsel to the President and Chief of
     Staff to the White House Counsel, February 22, 2018 – August 5, 2018

     Deputy Assistant to the President and Deputy Counsel to the President, August 5,
     2018 – December 21, 2018




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7.    Describe the process of how you were hired for the job of chief of staff for Don
      McGahn?

      RESPONSE: After discussing joining the Office of the White House Counsel with Mr.
      McGahn—while still an associate at Jones Day—I subsequently was hired to work for
      the Executive Office of the President as Deputy Assistant to the President, Special
      Counsel to the President, and Chief of Staff to the White House Counsel. I participated
      in a background check and onboarding process for White House staff during the
      Transition.

8.    Did you know Mr. McGahn prior to speaking with him about the position of his chief of
      staff?

      RESPONSE: Yes.

9.    Describe your job responsibilities as chief of staff for Mr. McGahn.

      RESPONSE: My responsibilities as Deputy Assistant to the President, Special Counsel
      to the President, and then Deputy Counsel to the President, and Chief of Staff to the
      White House Counsel varied as circumstances warranted over time. It is not possible to
      parse out which duties necessarily corresponded with to the “Chief of Staff to the White
      House Counsel” portion of the title versus the others.

      In general terms, my responsibilities included handling a portfolio of legal issues and
      other matters for the Counsel’s Office, providing advice regarding operational and
      administrative functions of the White House and various other matters, interfacing with
      various White House staff, and regularly participating in senior level decision-making on
      a wide range of issues. In addition, I was responsible for managing day-to-day functions
      of the Counsel’s Office, which included, but was not limited to interfacing with White
      House Counsel’s Office staff, coordinating among the various deputies, managing
      information flow, preparing advice for the President, and advising and assisting
      Mr. McGahn in his execution of duties of the White House Counsel. Regularly, this also
      involved sitting in on meetings or calls involving Mr. McGahn or appearing on his behalf
      if he was not available to attend.

10.   Describe where your office was located relative to that of Mr. McGahn.

      RESPONSE: My office was located on the second floor in the West Wing, in the suite
      traditionally assigned to the White House Counsel. At times, I occupied an office across
      from the White House Counsel’s Office reception area outside Mr. McGahn’s office, then
      the office immediately adjacent to Mr. McGahn’s.

11.   Identify the approximate number of times you met directly with President Trump, either
      alone or with others, during your tenure at the White House Counsel’s office.

      RESPONSE: I was in meetings directly with President Trump fewer than ten times.




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12.      Special Counsel Mueller’s Report on the Investigation Into Russian Interference In the
         2016 Presidential Election (hereinafter “the Mueller Report” or “the Report”)1 references
         a set of notes that you maintained during your tenure as chief of staff to Mr. McGahn.
         The Bates Number prefix for these notes is SC_AD_0000.

         a.      When did you first decide to take these notes and do you recall the first date on
                 which you took notes?

                 RESPONSE: It has been my longstanding practice to take notes attendant to my
                 professional responsibilities, which often require me to handle multiple
                 substantive issues within a day.

                 Consistent with my regular practice, the first date on which I made any
                 handwritten notes during my time at the White House would have been January
                 20, 2017.

         b.      Describe the purpose for which you maintained these notes.

                 RESPONSE: See Response to Question 12a.

         c.      Describe your criteria for deciding which discussions or events to record in your
                 notes.

                 RESPONSE: There were no criteria as to which discussions or events were the
                 subject of my handwritten notes (which were not “recordings”)2; it was my
                 regular practice to take notes attendant to my professional responsibilities.

         d.      Did Mr. McGahn or anyone else ask you to take notes at any point? If yes,
                 describe those discussions.

                 RESPONSE: The White House has directed that I not respond to this question
                 because of the constitutionally-based Executive Branch confidentiality interests
                 that are implicated.




1
      Unless otherwise indicated, all references to the Report are to Volume II of the Report.
2
   Throughout the Committee’s questions, there are sporadic references to my notes as
“recordings.” I would not characterize my handwritten notes as “recordings” or akin to
transcripts of events or discussions that took place during my time in the White House, but rather
as running working notes. In order to provide answers to questions referencing “recordings,” I
have responded as if the question had instead asked about my handwritten notes.


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e.   Did President Trump or anyone else ever ask you not to take notes of any
     discussions or events? If yes, describe those discussions or events.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

f.   Did you ever decide not to take notes because of the subject matter of the
     discussions or nature of the events? If yes, describe those circumstances.

     RESPONSE: I never refrained from taking handwritten notes as to specific
     discussions or events, see Response to Question 12c, though starting in or around
     May 2017, I made an effort to write notes that were more succinct and precise in
     nature.

g.   Did you always make your notes contemporaneous to the discussions or events
     you were documenting? If not, describe how and when you created your notes.

     RESPONSE: No. At times, I made notes following a discussion or event, after I
     had considered an issue, or to ensure that I remembered an idea I had, an item to-
     do, or something that required follow-up.

h.   Describe whether your notes were handwritten, typed or both..

     RESPONSE: Handwritten.

i.   Identify each individual with whom you shared your notes or copies of your notes
     and the related circumstances, including whether you were asked to provide the
     notes, which notes you provided and when you provided those notes.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

j.   When you left the White House, did anyone discuss with you retaining your
     notes? If so, describe with whom you had such discussions and the nature of
     those conversations.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

k.   Did you retain your notes or copies of your notes when you left the White House?

     RESPONSE: Yes.

l.   Did anyone from the White House, Department of Justice, or anyone else provide
     you and/or your counsel with copies of your notes after you left the White House?


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               If so, describe any particular terms or conditions under which those copies were
               provided to you.

               RESPONSE: No.

       m.      Do you or your counsel currently have your notes or copies of your notes from the
               White House? If so, describe how you received those notes.

               RESPONSE: See Response to Question 12(k).

13.    Page 49 of the Mueller Report indicates that on March 2, 2017 when President Trump
       became aware that former Attorney General Sessions was considering recusing himself
       from the Russia investigation, “the President called McGahn and urged him to contact
       Sessions to tell him not to recuse himself from the Russia investigation.”

       a.      Were you with Mr. McGahn when the President called him on that date?

               RESPONSE: I do not, today, have an independent recollection of whether or not
               I was with Mr. McGahn at the time of the cited telephone call.3

       b.      If so, describe what occurred on that call.

               RESPONSE: The White House has directed that I not respond to this question
               because of the constitutionally-based Executive Branch confidentiality interests
               that are implicated.

       c.      Did you discuss that call subsequently with Mr. McGahn?

               RESPONSE: The White House has directed that I not respond to this question
               because of the constitutionally-based Executive Branch confidentiality interests
               that are implicated.




3
   It bears noting that more than two years have passed since the events in question, and more
than 18 months since the time I was first questioned about such events. While at times I was a
direct participant in certain meetings or telephone calls, at other times my knowledge of certain
events may have been acquired indirectly. Therefore I do not, today, have an independent
recollection of the bases for my knowledge as to certain events that are the subject of these
questions. My voluntary statements to the Special Counsel’s Office likely reflect a firmer
recollection given the closer proximity in time to the events; however, I am not in possession of
any documents memorializing the voluntary statements I made to the Special Counsel’s Office
when interviewed about these events, and I have not re-reviewed my handwritten notes that were
provided to the Special Counsel’s Office in responding to the Committee’s questions.


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      d.     If yes, describe those discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Were you ever with Mr. McGahn on any other date when the President discussed
             Mr. Sessions’ recusal from the Russia investigation?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     If so, describe each such occurrence.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      g.     Did the President or anyone else ever call you and ask you to contact Mr. Sessions
             regarding his recusal and/or the Russia investigation?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      h.     If so, describe each such occurrence.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

14.   Page 49 of the Report states that “McGahn understood the President to be concerned that
      a recusal would make Mr. Sessions look guilty for omitting details in his confirmation
      hearing; leave the President unprotected from an investigation that could hobble the
      presidency and derail his policy objectives; and detract from favorable press coverage of
      a Presidential Address to Congress the President had delivered earlier in the week.”

      a.     Did you share Mr. McGahn’s understanding of the President’s concerns regarding
             Mr. Sessions’ recusal?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      b.     Were you present for any discussions involving the President about his concerns
             regarding Mr. Sessions’ recusal? If yes, describe those discussions.

             RESPONSE: I was not involved in any direct discussions with the President
             about Mr. Sessions’ recusal.

      c.     Did you discuss Mr. McGahn’s understanding of the President’s concerns
             regarding Mr. Sessions’ recusal with Mr. McGahn? If yes, describe those
             discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you discuss Mr. McGahn’s understanding of the President’s concerns
             regarding Mr. Sessions’ recusal with anyone other than Mr. McGahn? If yes,
             describe those discussions and who was present for each discussion.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

15.   Footnote 279 on page 49 of the Mueller Report references an entry in your notes
      (SC_AD_00123) stating, “just in the middle of another Russia Fiasco.” The footnote cites
      back to a discussion on March 2, 2017 between the President and Mr. McGahn, during
      which “McGahn understood the President to be concerned that a recusal would make
      Sessions look guilty for omitting details in his confirmation hearing; leave the President
      unprotected from an investigation that could hobble the presidency and derail his policy
      objectives; and detract from favorable press coverage of a Presidential Address to
      Congress the President had delivered earlier in the week.”

      a.     Describe what you are referring to in this entry stating “just in the middle of
             another Russia Fiasco.”

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.




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      b.     How did you learn about the events you describe as “another Russia fiasco?”

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Why did you use the term “fiasco” to describe what you observed?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Your notes say it was “another Russia fiasco;” what other discussions or events
             are you referring to as also qualifying as a “Russia fiasco?”

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     If this entry described on SC_AD_00123 was based on discussions or events for
             which you were present, identify any additional persons present.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

16.   Page 49 of the Mueller Report indicates that Mr. McGahn reached out to Mr. Sessions on
      March 2, 2017 and reported that the President was not happy about the possibility of Mr.
      Sessions’ recusal.

      a.     Were you present when Mr. McGahn had this discussion with Mr. Sessions?

             RESPONSE: It is possible, but I do not, today, have an independent recollection
             of whether or not I was with Mr. McGahn at the time of the cited discussion.

      b.     If yes, describe what was said and who else, if anyone, was present for those
             discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did Mr. McGahn discuss this conversation with Mr. Sessions with you? If yes,
             describe your discussions with Mr. McGahn.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.


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17.   Page 49 of the Mueller Report describes Mr. McGahn’s efforts on March 2, 2017 “on
      behalf of the President to avert Sessions’ recusal by speaking to Sessions’ personal
      counsel, Sessions’ chief of staff, and Senate Majority Leader Mitch McConnell, and by
      contacting Sessions himself two more times.” The accompanying citation (footnote 283)
      references an entry in your notes (SC_AD_00121).

      a.     Did you personally observe or hear any or all of Mr. McGahn’s efforts as
             described on page 49 of the Report? If yes, describe what you observed or heard.

             RESPONSE: Yes.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Did Mr. McGahn discuss with you any of his efforts described on page 49 of the
             Report? If yes, describe those discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Why did Mr. McGahn speak to Senate Majority Leader Mitch McConnell?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Describe the substance of Mr. McGahn’s conversation with Senate Majority
             Leader Mitch McConnell as it related to efforts on behalf of the President to avert
             Mr. Sessions’ recusal.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Describe the substance of Mr. McGahn’s conversation with Mr. Sessions’
             personal counsel as it related to efforts on behalf of the President to avert Mr.
             Sessions’ recusal.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      f.     Describe the substance of Mr. McGahn’s conversation with Mr. Session’s chief of
             staff as it related to efforts on behalf of the President to avert Mr. Sessions’
             recusal.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      g.     Were you present for any other discussions with Mr. Sessions about his recusal?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      h.     If yes, describe those discussions and who else was present.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

18.   The Report, on pages 49 and 50, states that on the afternoon of March 2, 2017,
      Mr. Sessions announced his decision to recuse “from any existing or future investigations
      of any matters related in any way to the campaigns for President of the United States.
      Sessions believed the decision to recuse was not a close call, given the applicable
      language in the Code of Federal Regulations (CFR).”

      a.     Did you agree with Mr. Sessions’ decision?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      b.     Did you discuss that decision with Mr. McGahn?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     If yes, describe those discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

19.   Page 50 of the Report states that on March 2, 2017, “[s]hortly after Sessions announced
      his recusal, the White House Counsel’s office directed that Sessions should not be
      contacted about the matter.”



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      a.     Is this statement accurate?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes or its description of the voluntary
             statements I made to it, although I do not have access to its records of my
             statements.

      b.     Was that directive conveyed to the President? If so, who conveyed that direction,
             what exactly was said, and who else was present for those conversations?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Was that directive conveyed to anyone else? If so, whom?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you ever witness the President contacting Mr. Sessions about the matter,
             directly or indirectly? If so, describe what you witnessed.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Did you ever learn that this directive was violated by the President seeking to
             contact Mr. Sessions about the matter, directly or indirectly? If so, what did you
             learn?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     Did you ever discuss with Mr. McGahn or anyone else any efforts by the
             President to contact Mr. Sessions, directly or indirectly, about the Russia
             investigation or his recusal? If yes, describe those discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

20.   Footnotes 289 and 290 on page 50 of the Report reference entries in your notes
      (SC_AD_00123) from March 2, 2017 stating, “No contact w/Sessions” and “No
      comms/Serious concerns about obstruction.”




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a.   Who made those statements?

     RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
     Office’s quotation of my handwritten notes.

     In addition, the White House has directed that I not provide any further answer to
     this question because of the constitutionally-based Executive Branch
     confidentiality interests that are implicated.

b.   Describe the discussions reflected in those notes and the individuals present for
     those discussions.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

c.   Did you participate in any discussions in which personnel in the White House
     Counsel’s office expressed “serious concerns” about obstruction? If yes,
     describe all of those discussions and who was present for those discussions.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

d.   Identify all individuals who expressed “serious concerns about obstruction”
     during those meetings.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

e.   Describe the concerns that were expressed about obstruction.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

f.   Did those “serious concerns about obstruction” relate to the President’s conduct?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.




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      g.     Did you have “serious concerns about obstruction” based on the President’s
             conduct?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      h.     Can you recall any other occasion when members of the White House Counsel’s
             office expressed concerns about obstruction by the President or other members of
             the White House staff?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

21.   Page 50 of the Report states that on March 3, 2017, Mr. McGahn was called into the Oval
      Office where the President “expressed anger at Mr. McGahn” for not fighting for him and
      compared him unfavorably to the President’s former lawyer, Roy Cohn.

      a.     Were you present for that meeting on March 3, 2017? If so, does the Report
             accurately describe what was said at the meeting?

             RESPONSE: No, I was not present.

      b.     Did you speak with Mr. McGahn about the above discussions that occurred when
             he went to the Oval Office that day? If yes, describe those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

22.   Page 51 of the Report states that during the weekend of March 3–5, 2017, Mr. Sessions
      and Mr. McGahn flew to Mar-a-Lago to meet with the President and the President
      attempted to get Mr. Sessions to “unrecuse” from the Russia investigation?

      a.     Did you speak with Mr. McGahn about the President’s attempts to get Mr.
             Sessions to “unrecuse” from the Russia investigation? If yes, what did Mr.
             McGahn tell you?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      b.     Did Mr. McGahn ever tell you that he thought it was improper for the President to
             try to persuade Mr. Sessions to unrecuse himself? If yes, why did he feel that
             way?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you believe it was improper for the President to try to persuade Mr. Sessions
             to unrecuse himself? If yes, why did you feel that way?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

23.   Page 107 of the Report states that at some point in the spring of 2017, the President again
      sought to have Mr. Sessions reverse his recusal: “the President called [Attorney General
      Sessions] at home and asked if Sessions would “unrecuse” himself.”

      a.     At some point, were you made aware that the President did this? If yes, describe
             how and when you learned of the President’s actions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      b.     Describe any other discussions you had regarding the President’s attempts to
             persuade Mr. Sessions to unrecuse himself.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

24.   Did you believe the President’s efforts to pressure Mr. Sessions to: (1) ignore ethical
      guidelines and maintain control over the Russia investigation and then (2) reverse his
      decision to recuse himself involved potentially criminal conduct or were otherwise
      improper? If yes, why?

      RESPONSE: The White House has directed that I not respond to this question because
      of the constitutionally-based Executive Branch confidentiality interests that are
      implicated.

25.   Page 31 of the Report states that on January 26th, 2017, the Justice Department informed
      Mr. McGahn that there was evidence that Michael Flynn may have made false statements
      about his contacts with Russian officials during the campaign.




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      a.     Were you present when the Justice Department informed Mr. McGahn about
             Michael Flynn’s statements about his contacts with Russian officials? If so, what
             was said?

             RESPONSE: No, I was not present.

      b.     Did Mr. McGahn inform the President? If so, what did he say when he spoke to
             the President?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did Mr. McGahn inform the President that Flynn’s statements violated or may
             have violated a federal statute? If so, what did he say in that regard?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

26.   Page 38 of the Mueller Report states: “Talking points on [Michael Flynn’s] resignation
      prepared by the White House Counsel’s office and distributed to the White House
      communications team stated that McGahn had advised the President that Flynn was
      unlikely to be prosecuted, and the President had determined that the issue with Flynn was
      one of trust.”

      a.     Is this statement accurate?

             RESPONSE: Although I recall that talking points related to General Flynn’s
             resignation were prepared, I do not, today, have an independent recollection of to
             whom they were distributed or the specific substance of the talking points.

      b.     Did you participate in drafting the talking points?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you believe the referenced talking points regarding the Flynn resignation
             were accurate?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      d.     Identify all other individuals involved in drafting the talking points.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Identify all individuals who were given a copy of the talking points, including any
             investigators.

             RESPONSE: See Response to Question 26a.

      f.     Describe the substance of the talking points.

             RESPONSE: See Response to Question 26a.

27.   Citing to your notes at Bates Number SC_AD_000137, page 51 of the Report states that
      “[o]n March 5, 2017, the White House Counsel’s office was informed that the FBI was
      asking for transition-period records relating to Flynn—indicating that the FBI was still
      actively investigating him.”

      a.     Does this statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of my handwritten notes or my voluntary statements to it,
             although I do not have access to its records of my statements.

      b.     Describe what if any knowledge you have about the FBI’s requests for transition-
             period records relating to Michael Flynn.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Between the dates of March 5 and May 9, 2017, did you speak with Mr. McGahn
             about the FBI investigation into Michael Flynn? If yes, describe those
             discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Between the dates of March 5 and May 9, 2017, were you present for any
             conversations in which the President discussed the FBI investigation into Michael
             Flynn? If yes, describe those discussions.

             RESPONSE: I was not physically present for any in-person meetings with the
             President where the FBI investigation into Michael Flynn was discussed. It is
             possible I was present for telephone conversations in which the President may


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             have discussed with Mr. McGahn or others the FBI investigation into Michael
             Flynn.

28.   Page 51-52 of the Report states that on March 5, 2017, President Trump “told advisors he
      wanted to call the Acting Attorney General [Dana Boente] to find out whether the White
      House or the President was being investigated.” The accompanying citation (footnote
      306) cites to an entry in your notes, Bates Number SC_AD_000168, stating “POTUS
      wants to call Dana/Is investigation/No/We know something on Flynn/GSA got contacted
      by FBI/There’s something hot.”

      a.     Describe the meaning of this entry.

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Describe what discussions or events are being recorded here.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Whose words were you recording in Footnote 306?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Who else was present when those words were stated?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Describe why the President “want[ed] to call Dana.”

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      f.     Did the President or anyone acting on his behalf call Mr. Boente?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

29.   Page 52 of the Report quotes an entry in your notes (footnote 308, Bates Number
      SC_AD_00188) which states: “POTUS in panic/chaos . . . . Need binders to put in front
      of POTUS. (1) All things related to Russia.”

      a.     Describe the meaning of this entry.

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes or its description of the voluntary
             statements I made to it, although I do not have access to its records of my
             statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Describe what discussions or events are being recorded here.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Why was the President in “panic/chaos”?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     How did you learn that the President was in “panic/chaos”?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Was anyone present when that was said?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      f.     What binders were to be put in front of the President and for what purpose?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      g.     What does the entry “[a]ll things related to Russia” mean?

             RESPONSE: See Response to Question 29a.

      h.     Were there any other items listed after (1) on that entry?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

30.   Page 52 of the Report indicates that the week after Mr. Comey briefed congressional
      leaders “about the FBI’s investigation of Russian interference, including the
      identification of the principal U.S. subjects of the investigation” on March 9, 2017, one of
      the leaders briefed, Senate Select Committee on Intelligence Chairman Senator Richard
      Burr, was in contact with the White House Counsel’s office, which “appears to have
      received information about the status of the FBI investigation.” You are quoted in
      Footnote 309 as saying that Senator Burr identified “4-5 targets.”

      a.     Is this statement accurate?

             RESPONSE: I was not present for Mr. Comey’s briefing to the Senate Select
             Committee on Intelligence, and therefore I cannot confirm whether the
             description of his briefing to congressional leaders is accurate.

             I have no reason to question the accuracy of the Special Counsel’s Office’s
             quotation of “4-5 targets” from my notes.

             I have no reason to question the accuracy of the Special Counsel’s Office’s
             description of the voluntary statements I made to it, although I do not have access
             to its records of my statements.

             Any characterization of my voluntary statements set forth in the Report is that of
             the Special Counsel’s Office and may be derived, in part, from sources other than
             my statements.

             As stated by the Special Counsel’s Office in the Report, at the time, I “believed
             these were targets of [the Senate Select Committee on Intelligence].”




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b.   Who initiated the contact between the White House Counsel’s office and Senator
     Burr?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

c.   Where did the March 16, 2017 briefing from Senator Burr take place?

     RESPONSE: To the extent this question refers to contact between Senator Burr
     and the Office of the White House Counsel on or about March 16, 2017 (I would
     not characterize this contact as a formal “briefing”), that conversation took place
     by telephone.

d.   Why did Senator Burr provide this briefing to the White House Counsel’s office
     about the investigation into Russian election interference?

     RESPONSE: I do not know. I cannot speak to Senator Burr’s state of mind.

e.   Were you present for Senator Burr’s March 16, 2017 briefing to the White House
     Counsel’s office?

     RESPONSE: To the extent this question refers to a telephone call between
     Senator Burr and the Office of the White House Counsel on or about March 16,
     2017, I was in Mr. McGahn’s office during, but not a participant on, the telephone
     call.

f.   Who else was present?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

g.   Describe the substance of Senator Burr’s March 16, 2017 briefing to the White
     House Counsel’s office.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

h.   Were the contents of Senator Burr’s briefing shared with the President? If so,
     describe who shared the contents of the meeting and if you were present for those
     discussions.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.



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31.   Page 31 of the Report indicates that Mr. McGahn asked John Eisenberg to examine
      potential legal issues raised by Flynn’s FBI interview and his contacts with Russian
      ambassador Sergey Kislyak.

      a.     Were you present when Mr. McGahn asked Mr. Eisenberg to do this?

             RESPONSE: I do not, today, have an independent recollection of whether or not
             I was present.

      b.     Did you discuss with Mr. McGahn his reasons for asking Mr. Eisenberg to
             conduct this research?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did Mr. McGahn believe that Mr. Flynn’s actions involved potentially criminal
             conduct?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you believe that Mr. Flynn’s actions involved potentially criminal conduct?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

32.   Page 32 of the Report indicates that on January 27, 2017, Mr. Eisenberg informed
      Mr. McGahn that there was a possibility that Flynn had violated 18 U.S.C. § 1001 and the
      Logan Act.

      a.     Were you present for this conversation? If yes, describe the substance of the
             conversation.

             RESPONSE: I do not, today, have an independent recollection of whether or not
             I was present.

      b.     If you were not present, did you ever discuss the results of Mr. Eisenberg’s
             research with Mr. McGahn? If yes, describe the substance of that conversation.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

33.   Page 33 of the Report indicates that on the morning of January 27, 2017, Mr. McGahn
      asked Sally Yates to return to the White House to discuss Flynn again.


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      a.     Were you present for that meeting between Mr. McGahn and Ms. Yates? If yes,
             identify all individuals that participated in that meeting between Mr. McGahn and
             Ms. Yates and describe what was said.

             RESPONSE: No, I was not present.

      b.     Did you discuss that meeting with Mr. McGahn? If yes, describe what was
             discussed.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

34.   Page 33 of the Report indicates that Mr. McGahn told Ms. Yates that “the White House
      did not want to take action that would interfere with an ongoing FBI investigation of
      Flynn.”

      a.     Is that statement accurate?

             RESPONSE: See Response to Question 33a. I am unable to confirm whether
             that statement is accurate.

      b.     Did Mr. McGahn ever express that sentiment to you?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Was it your understanding at the time that the White House did not want to take
             action that would interfere with an ongoing FBI investigation of Michael Flynn?
             If yes, explain why the White House took that position.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you ever come to understand that the President had a different view?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

35.   Page 33 of the Report states that “McGahn had previously advised the President that he
      should not communicate directly with the Department of Justice to avoid the perception
      or reality of political interference in law enforcement.”




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a.   Is this statement accurate?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

b.   Were you present when Mr. McGahn advised the President that he should not
     “communicate directly with the Department of Justice to avoid the perception or
     reality of political interference in law enforcement?” If yes, describe those
     discussions.

     RESPONSE: I was not present for any meeting between the President and
     Mr. McGahn concerning whether or not to “communicate directly with the
     Department of Justice to avoid the perception or reality of political interference in
     law enforcement.”

     I do not, today, independently recall whether I was present for any such
     communication that may have occurred over the telephone.

c.   Did you discuss Mr. McGahn’s advice to the President with Mr. McGahn?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

d.   If yes, describe those discussions.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

e.   Did you believe that Mr. McGahn’s advice to the President was correct?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

f.   Why or why not?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

g.   Did President Trump follow Mr. McGahn’s advice?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.


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36.   Page 45 of the Report indicates that Mr. McGahn told the Special Counsel that the
      President confirmed to Mr. McGahn that he “in fact spoke to Comey about Flynn in their
      one-on-one meeting.”

      a.     Were you present when the President confirmed to Mr. McGahn that he “in fact
             spoke to Comey about Flynn in their one-on-one meeting?”

             RESPONSE: I was not present for any in-person communication between the
             President and Mr. McGahn concerning whether or not the President “in fact spoke
             to Comey about Flynn in their one-on-one meeting.”

             I do not, today, independently recall whether I was present for any such
             communication that may have occurred over the telephone.

      b.     If yes, describe those discussions.

             RESPONSE: See Response to Question 36a.

      c.     Did you ever speak to Mr. McGahn about the President confirming to Mr.
             McGahn that the President “in fact spoke to Comey about Flynn in their one-on-
             one meeting?” If yes, describe that conversation.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

37.   Page 53 of the Mueller Report states, “according to McGahn and Donaldson, the
      President had expressed frustration with Comey before his March 20 testimony, and the
      testimony made matters worse.”

      a.     Is this accurate?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.

             Any characterization of my voluntary statements set forth in the Report is that of
             the Special Counsel’s Office and may be derived, in part, from sources other than
             my statements.

      b.     Describe all conversations for which you were present in which the President
             expressed frustration with Mr. Comey and who if anyone else was present for
             those discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.



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      c.     Describe all conversations you had with Mr. McGahn regarding the President’s
             frustration with Mr. Comey and identify any other individuals present for those
             discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Describe what President Trump said or how he reacted in response to Mr.
             Comey’s March 20, 2017 testimony, or what anyone told you about the
             President’s reaction that led you to believe that it “made matters worse.”

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

38.   Page 54 of the Report states that following Mr. Comey’s March 20 testimony, “McGahn,
      Donaldson, and senior advisor Stephen Miller recalled that the President was upset with
      Comey’s testimony and the press coverage that followed because of the suggestion that
      the President was under investigation.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.

      b.     Describe all conversations for which you were present in which the President
             expressed frustration about the suggestion that he was under investigation and
             identify any other individuals present for those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Describe all conversations you had with Mr. McGahn regarding the President’s
             frustration about the suggestion that he was under investigation and identify any
             other individuals present for those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

39.   Page 54 of the Report, citing to your notes at Bates Number SC_AD_00213, states that
      “notes from the White House Counsel’s office dated March 21, 2018 indicate that the
      President was beside himself over Comey’s testimony.” Footnote 323 on the same page
      quotes your notes at Bates Number SC_AD_00206 as indicating the President “referred
      to the ‘Comey Bombshell’ which ‘made [him] look like a fool.’”


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      a.     Is that account accurate?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes.

      b.     Describe what you recall about the President’s statements reflected in your notes.

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      c.     Describe what President Trump said or the manner in which he acted, or what
             anyone else told you about the President’s reaction, that led you to conclude that
             he was “beside himself” over Mr. Comey’s testimony?

             RESPONSE: See Response to Question 39(b).

40.   Page 54 of the Report indicates that on March 21, 2017 “[t]he President called McGahn
      repeatedly that day to ask him to intervene with the Department of Justice, and, according
      to the notes, the President was ‘getting hotter and hotter, get rid?’”

      a.     Is that account accurate?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of “getting hotter and hotter, get rid” from my handwritten
             notes.

      b.     Describe what you meant when you wrote in your notes that the President was
             “getting hotter and hotter, get rid?”

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of “getting hotter and hotter, get rid” from my handwritten
             notes.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.




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c.   Does that mean the President wanted to get rid of Mr. Comey?

     RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
     Office’s quotation of “getting hotter and hotter, get rid” from my handwritten
     notes. However, I cannot speak to the President’s state of mind.

d.   Did you observe or hear any of the discussions between President Trump and
     Mr. McGahn that day?

     RESPONSE: I do not, today, have an independent recollection of whether I
     directly observed or heard any discussions between the President and Mr.
     McGahn on March 21, 2017.

e.   If yes, what did the President say?

     RESPONSE: See Response to Question 40d.

f.   Did you discuss with Mr. McGahn the President’s calls to Mr. McGahn asking
     him to intervene with the Department of Justice?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

g.   If yes, what did Mr. McGahn say about those calls?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

h.   Describe Mr. McGahn’s reaction to President Trump’s repeated efforts to get
     Mr. McGahn to intervene with the Department of Justice.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

i.   Did you discuss with anyone else the President’s calls to Mr. McGahn asking him
     to intervene with the Department of Justice?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.




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      j.     If yes, who did you discuss it with and what did you say about those calls?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      k.     How many times did President Trump contact Mr. McGahn directly or indirectly
             to ask that Mr. McGahn intervene with the Department of Justice?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      l.     Did you observe or hear any other discussions between President Trump and
             Mr. McGahn in which the President asked Mr. McGahn to intervene with the
             Department of Justice in the Special Counsel’s investigation?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      m.     If so, describe those discussions and who was present.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      n.     Did anyone else ever tell you about discussions between President Trump and
             Mr. McGahn in which the President asked Mr. McGahn to intervene with the
             Department of Justice in the Special Counsel’s investigation?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      o.     If so, describe those discussions and who was present.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

41.   Page 54 of the Report states that on March 21, 2017, “[o]fficials in the White House
      Counsel’s office became so concerned that the President would fire Comey that they
      began drafting a memorandum that examined whether the President needed cause to
      terminate the FBI director.”




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      a.     Does this statement accurately reflect your recollection?

             RESPONSE: Part of my and other White House Counsel’s Office staff’s duties
             included conducting legal research as to Executive powers and rendering advice
             on the same. These functions were job requirements, not responses to
             “concern[ ]”.

      b.     What actions did President Trump take that led officials in the White House
             Counsel’s office to become concerned that President Trump would fire
             Mr. Comey?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Identify the officials in the White House Counsel’s office that were concerned
             that President Trump would fire Mr. Comey.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Describe all conversations you recall about these concerns.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Did you participate in drafting the memorandum described?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     Do you have a copy of that memorandum?

             RESPONSE: No.

42.   Pages 54 and 55 of the Report, citing to your notes at Bates Number SC_AD_00210,
      indicate that on March 21, 2017 President Trump “sought to speak with Acting Attorney
      General Dana Boente directly, but McGahn told the President that Boente did not want to
      talk to the President about the request to intervene with Comey.”

      a.     Does this statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes or its description of the voluntary




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             statements I made to it, although I do not have access to its records of my
             statements.

      b.     Were you present for those discussions between the President and Mr. McGahn?
             If yes, describe those conversations.

             RESPONSE: I was not present for any in-person discussions between the
             President and Mr. McGahn on this day concerning Mr. Comey or Mr. Boente. It
             is possible that I was present in Mr. McGahn’s office for, but not a participant in,
             a telephone discussion between the President and Mr. McGahn.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      c.     Were you present for Mr. McGahn’s discussions with Mr. Boente? If yes,
             describe those conversations.

             RESPONSE: Yes, I was present for at least some telephone calls between Mr.
             Boente and Mr. McGahn on March 21, 2017.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      d.     Did you discuss with Mr. McGahn his conversation with Mr. Boente? If yes,
             describe those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

43.   Page 62 of the Report states that Mr. McGahn “recalled that in the week leading up to”
      Mr. Comey’s May 3, 2017 testimony before Congress, “the President said that it would
      be the last straw if Comey did not take the opportunity to set the record straight by
      publicly announcing that the President was not under investigation.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I do not, today, have an independent recollection of whether any
             such statement was made during the week prior to May 3, 2017, and, if it was,
             whether or not I was present.

      b.     Were you present when the President made that statement? If yes, describe
             everything you recall the President saying and who else was present.

             RESPONSE: See Response to Question 43a.



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      c.     Did you discuss the President’s statement with Mr. McGahn? If yes, describe
             those discussions.

             RESPONSE: See Response to Question 43a.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

44.   Did the White House Counsel’s office instruct President Trump to refrain from
      contacting Mr. Comey about the FBI’s investigation into Russia? If yes, who contacted
      the President, who was present for those conversations and what was the President was
      told?

      RESPONSE: The White House has directed that I not respond to this question because
      of the constitutionally-based Executive Branch confidentiality interests that are
      implicated.

45.   Did President Trump contact Mr. Comey with respect to the FBI’s investigation into
      Russia against the advice of the White House Counsel’s office?

      RESPONSE: The White House has directed that I not respond to this question because
      of the constitutionally-based Executive Branch confidentiality interests that are
      implicated.

46.   Footnote 385 of Page 62 of the Report references an entry in your notes at
      SC_AD_00265 that states “P called Comey – Day we told him not to? ‘You are not under
      investigation’ NK/China/Sapping Credibility.”

      a.     Describe the meaning of the notes in that entry and the date of the events
             described.

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes, which were taken on or around April
             11, 2017.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     How did you learn what was said on the President’s call with Mr. Comey?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.


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      c.     Did you or Mr. McGahn tell the President not to call Mr. Comey? If yes, describe
             those conversations, including who was present.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Why did you or Mr. McGahn tell the President not to call Mr. Comey?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Did you discuss with Mr. McGahn that the President disregarded what you or
             Mr. McGahn told him about not calling Mr. Comey? If yes, describe those
             conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     Did you believe it was improper for the President to make such a call to Mr.
             Comey?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

47.   Page 65 of the Report describes a meeting on the morning of Monday, May 8, 2017, in
      which the President informed Mr. McGahn and others that he decided to terminate Mr.
      Comey, “read aloud the first paragraphs of the termination letter he wrote with Stephen
      Miller, and conveyed that the decision had been made and was not up for discussion.”
      Did you discuss that meeting with Mr. McGahn? If yes, describe those discussions.

      RESPONSE: The White House has directed that I not respond to this question because
      of the constitutionally-based Executive Branch confidentiality interests that are
      implicated.

48.   Page 66 of the Report states that on May 8, 2017, Mr. McGahn attempted to “slow down
      the decision-making process” by telling the President that “DOJ leadership was currently
      discussing Comey’s status” and suggesting that “White House Counsel’s Office attorneys
      should talk with Sessions and Rod Rosenstein who had recently been confirmed as the
      Deputy Attorney General.” Did you discuss this event with Mr. McGahn? If yes,
      describe those discussions and who else was present.

      RESPONSE: The White House has directed that I not respond to this question because
      of the constitutionally-based Executive Branch confidentiality interests that are
      implicated.


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49.   Page 66 of the Report states that at noon on May 8, 2017, Mr. Sessions, Mr. Rosenstein,
      and Jody Hunt met with Mr. McGahn and White House Counsel’s office attorney Uttam
      Dhillon at the White House to discuss firing Mr. Comey.

      a.     Did you attend this meeting?

             RESPONSE: No.

      b.     If yes, describe the substance of the meeting.

             RESPONSE: See Response to Question 49a.

      c.     If you did not attend the meeting, did you discuss the events that occurred during
             the meeting with any of its attendees?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     If yes, identify the person or persons with whom you discussed the meeting and
             describe the substance of your discussions with these individuals.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

50.   Page 66 of the Report states that on May 8, 2017 “[a]t around 5 p.m., the President and
      several White House officials met with Sessions and Rosenstein to discuss Comey.” Did
      you attend this meeting or discuss the meeting with Mr. McGahn? If yes, describe those
      discussions.

      RESPONSE: No, I did not attend this meeting.

      In addition, the White House has directed that I not provide any further answer to this
      question because of the constitutionally-based Executive Branch confidentiality interests
      that are implicated.

      a.     Page 67 of the Report states that during the meeting, the President “then
             distributed copies of the termination letter he had drafted with Miller, and the
             discussion turned to the mechanics of how to fire Comey and whether the
             President’s letter should be used.”

      b.     Is this statement accurate?

             RESPONSE: See Response to Question 50.




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      c.     Page 67 of the Report states that during the meeting, Mr. McGahn and Mr.
             Dhillon urged the President to permit Mr. Comey to resign, but the President was
             adamant that he be fired.

      d.     Is this statement accurate?

             RESPONSE: See Response to Question 50.

      e.     Page 67 of the Report states that during the meeting, the group discussed the
             possibility that Rosenstein and Sessions could provide a recommendation in
             writing that Mr. Comey should be removed.

      f.     Is this statement accurate?

             RESPONSE: See Response to Question 50.

      g.     Page 67 of the Report states that during the meeting, Mr. Rosenstein, in response
             to the President saying “[p]ut the Russia stuff in the memo,” stated that the Russia
             investigation was not the basis of his recommendation, so he did not think Russia
             should be mentioned.”

      h.     Is this information accurate?

             RESPONSE: See Response to Question 50.

51.   Page 68 of the Report states, “Notes taken by Donaldson on May 9 reflected the view of
      the White House Counsel’s Office that the President’s original termination letter should
      ‘[n]ot [see the] light of day’ and that it would be better to offer “[n]o other rationales” for
      the firing than what was in Rosenstein’s and Sessions’ memoranda.” The accompanying
      citation (footnote 442) cites your notes, Bates Number SC_AD_00342.

      a.     Does this statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Identify the individuals who participated in the discussions that led to the view of
             the White House Counsel’s office regarding the President’s original termination
             letter reflected in your notes.




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     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

c.   Who stated that the original termination letter should not “see the light of day”
     and what was the basis for that statement?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

d.   Did anyone disagree with that statement and if so, who and what the basis for
     disagreement?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

e.   Describe everything you recall about the discussions and events recorded in
     SC_AD_00342, including who made the statements referenced in the notes.

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

f.   Where did the events and conversations that were recorded in SC_AD_00342
     relating to the rationales for terminating Mr. Comey as FBI Director take place?

     RESPONSE: At least some of the conversations took place in Mr. McGahn’s
     office. I do not, today, have an independent recollection of whether the events or
     conversations also took place in other locations as well.

g.   Did the rationale offered for firing Mr. Comey as set forth in the original
     termination letter reflect the President’s actual reasons for firing Mr. Comey?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.

h.   Did the rationale offered for firing Mr. Comey as set forth in the Rosenstein
     memorandum reflect the President’s actual reasons for firing Mr. Comey?

     RESPONSE: The White House has directed that I not respond to this question
     because of the constitutionally-based Executive Branch confidentiality interests
     that are implicated.




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      i.     Did you discuss with Mr. McGahn the conversations and events recorded in
             SC_AD_00342? If yes, describe those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

52.   Footnote 442 on Page 68 of the Report states that on Bates Number SC_AD_00342, your
      notes state, “[i]s this the beginning of the end?” and indicates you said you wrote this
      because you were “worried that the decision to terminate Comey and the manner in
      which it was carried out would be the end of the presidency.”

      a.     Does this accurately reflect your recollection of what you wrote and why you
             wrote it?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of “[i]s this the beginning of the end?” from my handwritten
             notes.

             I have no reason to question the accuracy of the Special Counsel’s Office’s
             description of the voluntary statements I made to it, although I do not have access
             to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     What about the decision to terminate Mr. Comey and/or the manner in which it
             was carried out made you worried that it would mean the end of the presidency?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Explain what you meant when you used the words “end of the presidency?”

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.

      d.     Did you believe at the time that President Trump’s decision to terminate Mr.
             Comey involved potentially criminal conduct?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      e.     Did you discuss these concerns with anyone?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     If so, with whom did you have those discussions and what specifically was
             discussed?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

53.   Page 69 of the Report, citing your notes at SC_AD_00342 (footnote 446) indicates that
      Mr. Dhillon made a final pitch to the President that Mr. Comey should be permitted to
      resign, but the President refused.

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotation of my handwritten notes or its description of the voluntary
             statements I made to it, although I do not have access to its records of my
             statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Describe anything you recall about what Mr. Dhillon told the President about
             permitting Mr. Comey to resign.

             RESPONSE: I was not present for Mr. Dhillon’s conversation with the
             President.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

54.   Page 70 of the Report indicates that Mr. Sessions informed the White House Counsel’s
      office that Mr. Rosenstein was upset that his memorandum was being portrayed as the
      reason for Mr. Comey’s termination.

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.



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             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Describe any conversation(s) you had regarding whether Mr. Rosenstein or
             anyone at the Department of Justice was upset about how the Department’s
             memorandum was being portrayed.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you believe his memorandum was used improperly or unfairly?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

55.   Page 71 of the Report states that “[w]hen Mr. McGahn asked the President about his
      comments to [Russian Foreign Minister Sergey] Lavrov, the President said it was good
      that Comey was fired because that took the pressure off by making it clear that he was
      not under investigation so he could get more work done.”

      a.     Were you present for any part of that conversation between Mr. McGahn and the
             President? If yes, describe what was said and who was present.

             RESPONSE: No, I was not present.

      b.     Did you discuss that conversation with Mr. McGahn? If yes, describe what was
             said.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did the President’s statements to Mr. Lavrov or anyone else about the reason(s)
             he fired Mr. Comey concern you at the time? If yes, describe your concerns.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

56.   Page 72 of the Report recount a meeting that occurred the morning of May 10, 2017 at
      the White House involving former acting FBI Director Andrew McCabe and the
      President in which the President said he “received ‘hundreds’ of messages from FBI
      employees indicating their support for terminating Comey” and “asked McCabe who he
      had voted for in the 2016 Presidential election.” Footnote 477 notes that the account of
      the meeting is consistent with your notes at Bates Number SC_AD_00347.


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      a.     Did you attend that meeting involving Mr. McCabe and the President?

             RESPONSE: No.

      b.     Did you take notes at the meeting?

             RESPONSE: See Response to Question 56a.

      c.     Is the account in the Report of what took place at the meeting consistent with your
             recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of my handwritten notes.

             Any characterization of my notes set forth in the Report is that of the Special
             Counsel’s Office and may be derived, in part, from sources other than my notes.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      d.     Describe everything you recall about that meeting.

             RESPONSE: See Response to Question 56a.

      e.     Describe all conversations you had with Mr. McGahn or anyone else about that
             meeting.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     Identify the other individuals who attended the meeting.

             RESPONSE: See Response to Question 56a.

57.   On pages 72 and 73, the Report states that on May 10, 2017, Mr. Sessions and
      Mr. Rosenstein “each spoke to McGahn and expressed concern that the White
      House was creating a narrative that Rosenstein had initiated the decision to fire
      Comey.”

      a.     Were you present for any parts of those conversations?

             RESPONSE: It is possible, although I do not, today, have an independent
             recollection of whether or not I was present for the cited discussions.




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      b.     Does the Report accurately describe those conversations based on your
             recollection of events?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of my voluntary statements to it, although I do not have
             access to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      c.     Describe everything you recall being said.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Identify all individuals who participated in those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

58.   Page 73 of the Report states that “[t]he White House Counsel’s Office agreed that it was
      factually wrong to say that the Department of Justice had initiated Comey’s termination.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of my voluntary statements to it, although I do not have
             access to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Who in the White House Counsel’s office agreed to this?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you or anyone else express those concerns to the President at the time? If so,
             who was present for those discussions and what was said?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.


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59.   Page 73 of the Report states that Mr. McGahn asked attorneys in the White House
      Counsel’s office to work with the press office to correct the narrative.

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: Yes.

      b.     Did the White House Counsel’s office take steps to correct the narrative? If so,
             who took those steps and what was done?

             RESPONSE: The White House has directed that I not respond to these questions
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you have any concerns about the false narrative created by President Trump
             regarding the reasons for Mr. Comey’s termination?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

60.   Page 73 of the Report references the President’s May 11, 2017 interview with Lester
      Holt. The Report states that the President told White House Counsel’s office attorneys in
      advance of the interview that the communications team could not get the story right, so
      he was going on Lester Holt to say what really happened.

      a.     Did you participate in that conversation with President Trump? If yes, describe
             everything you recall about that conversation?

             RESPONSE: I did not participate in any such conversation.

      b.     Identify all individuals that participated in that conversation.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you have any discussions with Mr. McGahn or anyone else about the
             President’s interview with Lester Holt following the interview? If yes, describe
             those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

61.   On May 23, 2017, the Department of Justice announced that ethics officials cleared
      Robert S. Mueller, III to serve as the Special Counsel. Page 81 of the Report states that




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      Mr. McGahn “recalled that around the same time, the President complained about the
      asserted conflicts and prodded McGahn to reach out to Rosenstein about the issue.”

      a.     Were you present for any of the conversation(s) between Mr. McGahn and the
             President on this subject? If yes, describe everything you recall being said.

             RESPONSE: I was not present for any in-person discussions between the
             President and Mr. McGahn on this day. It is possible that I was present in
             Mr. McGahn’s office for, but not a participant in, a telephone discussion between
             the President and Mr. McGahn.

      b.     Did you discuss the subject of Special Counsel Mueller’s purported “conflicts”
             with Mr. McGahn? If yes, describe everything you recall about those
             conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Do you witness the President’s reaction to this news?

             RESPONSE: No.

      d.     If yes, describe the President’s reaction, what was said, and who else was present.

             RESPONSE: See Response to Question 61(c).

62.   Footnote 540 on page 81 references an entry in your notes, at Bates Number
      SC_AD_00361, recording a May 23, 2017 conversation between Mr. McGahn and the
      President in which Mr. McGahn “told the President that he would not call Rosenstein”
      and “suggest[ed] that the President not make such a call either.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of my handwritten notes or my voluntary statements to it,
             although I do not have access to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Identify each person who participated in the conversation.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      c.     Did you discuss that conversation with Mr. McGahn? If so, describe what was
             discussed.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you discuss that conversation with anyone else?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     If so, describe what was discussed.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

63.   The Report, on pages 81 and 82 citing to your notes at Bates Number SC_AD_00361,
      states (footnote 541) that Mr. McGahn “advised that the President could discuss the issue
      [of whether Mr. Mueller had conflicts of interest] with his personal attorney but it would
      “‘look like still trying to meddle in [the] investigation’ and ‘knocking out Mueller’ would
      be ‘[a]nother fact used to claim obst[ruction] of justice.’”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotations of “look like still trying to meddle in [the] investigation”;
             “knocking out Mueller”; and “[a]nother fact used to claim obst[ruction] of
             justice” from my handwritten notes.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Describe what your notes mean.

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of my handwritten notes or my voluntary statements to it,
             although I do not have access to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.


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      c.     Did you agree that President Trump’s conduct exposed him to potential
             obstruction of justice allegations? If yes, did you discuss that belief with anyone
             else and, if so, who did you discuss it with and what was said?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Were you concerned at the time that the President may have committed
             obstruction of justice in connection with the investigation? If yes, did you discuss
             that concern with anyone else and, if so, with whom did you discuss it and what
             was said?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Did you have any discussions about the statements reflected in these notes with
             Mr. McGahn or anyone else? If yes, describe those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

64.   Page 82 of the Report states that Mr. McGahn also “told the President that his ‘biggest
      exposure’ was not his act of firing Comey but his ‘other contacts’ and ‘calls,’ and his ‘ask
      re: Flynn.’” The accompanying citation (footnote 542) refers to your notes,
      SC_AD_00361.

      a.     Does the term “biggest exposure” refer to the President’s potential legal liability
             for obstruction of justice?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s quotations of “biggest exposure”; “other contacts”; “calls”; and “ask re:
             Flynn,” from my handwritten notes.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     If not, to what does it refer?

             RESPONSE: See Response to Question 64(a).




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      c.     Which “other contacts” or “calls” are being referenced?

             RESPONSE: See Response to Question 64(a).

      d.     Which “ask re: Flynn” is being referenced?

             RESPONSE: See Response to Question 64(a).

65.   Footnote 539 on page 81 states that “McGahn and Donaldson said that after the
      appointment of the Special Counsel, they considered themselves potential fact witnesses
      and accordingly told the President that inquiries related to the investigation should be
      brought to his personal counsel.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.

             I was not a participant in any such conversation with the President. Any
             characterization of my voluntary statements set forth in the Report is that of the
             Special Counsel’s Office and may be derived, in part, from sources other than my
             statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Did you discuss with Mr. McGahn this conversation with the President, either
             before or after you had it? If yes, describe those discussions.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     At the time, did you consider the events you observed regarding President
             Trump’s conduct to be evidence of potential criminal conduct?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did the President follow the advice you and Mr. McGahn gave to the President
             and avoid discussing the investigation with you and Mr. McGahn?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.


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66.   Page 85 of the Report indicates that on Saturday, June 17, 2017, President Trump called
      Mr. McGahn and “directed him to have the Special Counsel removed.”

      a.     Did you personally hear any part of these conversation(s)?

             RESPONSE: No.

      b.     If yes, describe everything that the President said on the call(s).

             RESPONSE: See Response to Question 66(a)

      c.     Did Mr. McGahn speak to you about these call(s)?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     If yes, describe everything that Mr. McGahn told you.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Did Mr. McGahn express to you any concerns about the President’s call(s)?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     If yes, what concerns did Mr. McGahn express?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

67.   Page 86 of the Report indicates that Mr. McGahn called you on or about June 17, 2017 to
      inform you that he had decided to resign.

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.




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      b.     Describe everything you recall Mr. McGahn saying to you on the call and what
             you said in response.

             RESPONSE: See Response to Question 67a.

      c.     Did Mr. McGahn express his concern that the President was asking him to do
             something that he believed was unlawful or improper?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you tell anyone else what Mr. McGahn had told you?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     If so, who did you tell and what did you say?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      f.     Did Mr. McGahn tell you if he told anyone else that he planned to resign?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      g.     If so, who else did he tell and what did he tell you he said?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

68.   Page 86 of the Report states that “Donaldson recalled that McGahn told her the President
      had called and demanded he contact the Department of Justice and that the President
      wanted him to do something that McGahn did not want to do.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.




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             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Did Mr. McGahn state why he did not want to do it?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did Mr. McGahn express in words or substance a concern that the President was
             asking him to help interfere with or obstruct the ongoing investigation?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

69.   Page 86 of the Report states that Mr. McGahn told Donaldson that the President had
      called at least twice and in one of the calls asked “have you done it?” Does that statement
      accurately reflect your recollection?

      RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
      Office’s description of the voluntary statements I made to it, although I do not have
      access to its records of my statements.

      In addition, the White House has directed that I not provide any further answer to this
      question because of the constitutionally-based Executive Branch confidentiality interests
      that are implicated.

70.   Page 87 of the Report states that you inferred that the President’s directive was related to
      the Russia investigation.

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: I have no reason to question the accuracy of the Special Counsel’s
             Office’s description of the voluntary statements I made to it, although I do not
             have access to its records of my statements.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Describe the underlying facts that led you to infer that the President’s directive to
             Mr. McGahn related to the Russia investigation.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.


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71.   Page 87 of the Report states that “Donaldson prepared to resign along with McGahn.”

      a.     Does that statement accurately reflect your recollection?

             RESPONSE: Yes.

      b.     Why did you prepare to resign along with Mr. McGahn?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you tell anyone else you planned to resign?

             RESPONSE: I have been instructed by my counsel not to answer this question
             because it implicates common law privilege.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      d.     If so, who and what exactly did you say?

             RESPONSE: See Response to Question 71c.

      e.     Did you believe the President was asking Mr. McGahn to do something that was
             unlawful or improper? If yes, explain why you felt that way.

             RESPONSE: I have been instructed by my counsel not to answer this question
             because it calls for speculation and is vague as to “improper.”

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

72.   Did you record any portion of your conversation(s) with Mr. McGahn about the events of
      June 17, 2017 in your notes? If not, why didn’t you record the conversation?

      RESPONSE: No. To the best of my recollection, these events occurred on a weekend
      and I was not in possession of my running handwritten notes.

73.   Do you know why Mr. McGahn decided not to resign?

      RESPONSE: No, I do not know why Mr. McGahn decided not to resign.

74.   If so, why and what is the basis for your knowledge?

      RESPONSE: See Response to Question 73.



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75.   Pages 116-17 of the Report describes a February 6, 2018 conversation in the Oval Office
      involving the President, Mr. McGahn, and Chief of Staff John Kelly in which the
      President ordered Mr. McGahn to “correct” reports that the President had ordered
      Mr. McGahn to fire the Special Counsel.

      a.     Did you participate in that meeting?

             RESPONSE: No.

      b.     Did you ever learn from Mr. McGahn or otherwise that the President had asked
             him to deny that the President had told him to fire the Special Counsel at that
             meeting or on any other occasion? If yes, describe everything that you learned
             about what the President told Mr. McGahn and how you learned it.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     Did you discuss with Mr. McGahn that the President had asked him to deny that
             the President had told him to fire the Special Counsel? If yes, describe everything
             that Mr. McGahn said to you.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      d.     Did you discuss with Mr. McGahn what Mr. McGahn said in response to the
             President’s request that he deny that the President had told him to fire the Special
             Counsel? If yes, describe everything that Mr. McGahn said to you.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      e.     Did you ever learn from Mr. McGahn or otherwise that the President had asked
             him to create a letter denying the President had told him to fire the Special
             Counsel? If yes, describe everything that you learned about what the President
             told Mr. McGahn and how you learned it?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

76.   Page 95 of the Report states that on July 22, 2017, President Trump told then-White
      House Chief of Staff Reince Priebus to get Mr. Sessions to resign “immediately,”
      because Mr. Sessions would not reverse his decision to recuse himself from the Russia
      investigation. The Report further states that Priebus thought this was, “all wrong,” so he
      asked Mr. McGahn for advice on what to do.


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      a.     Do you have direct personal knowledge regarding this event? If yes, describe
             what you know and how you know it.

             RESPONSE: I was not present for any such conversation between President
             Trump and Mr. Priebus on or about July 22, 2017.

             I am aware of a conversation between Mr. Priebus and Mr. McGahn, although I
             do not, today, have an independent recollection of whether or not I was present
             for any such conversation between Mr. Priebus and Mr. McGahn, or subsequently
             learned about this event.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Did you speak with Mr. McGahn about this event? If yes, describe the substance
             of those conversations.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

77.   Page 113 of the Report states that on January 25, 2018, the New York Times reported
      that in June 2017, the President had ordered Mr. McGahn to have the Department of
      Justice fire the Special Counsel. Page 114 of the Report states that on January 26, 2018,
      the President’s personal counsel called Mr. McGahn’s personal attorney and said that the
      President wanted Mr. McGahn to put out a statement denying that he had been asked to
      fire the Special Counsel and that he had threatened to quit in protest.

      a.     Do you have any personal knowledge regarding these events?

             RESPONSE: I was not present for any such telephone call on or about January
             26, 2018.

             I affirm the accuracy of the voluntary statements I made when being interviewed
             by the Special Counsel’s Office. See footnote 3.

      b.     Did you ever speak to Mr. McGahn about efforts to have him dispute the January
             25, 2018 New York Times report?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

      c.     If so, describe the substance of those conversations.




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             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

78.   Page 115 of the Report also indicates that Sarah Sanders contacted Mr. McGahn about
      the January 25, 2018 New York Times report.

      a.     Do you have personal knowledge regarding the conversation between
             Ms. Sanders and Mr. McGahn? If yes, describe that discussion?

             RESPONSE: I do not, today, have an independent recollection of whether or not
             I was present for any such conversation.

             It is possible that I subsequently learned of such a conversation.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Did Mr. McGahn speak to you about his conversation with Ms. Sanders about the
             January 25, 2018 New York Times report? If yes, describe your conversation
             with Mr. McGahn on that subject.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

79.   Page 116 of the Report indicates that Rob Porter told Mr. McGahn that he had to write a
      letter to dispute that he was ordered to terminate the Special Counsel, and that if he did
      not, the President may fire Mr. McGahn.

      a.     Do you have personal knowledge regarding this event?

             RESPONSE: I am generally aware such a conversation took place. I do not,
             today, have an independent recollection of whether or not I was present for any
             such conversation or subsequently learned of it, nor do I have an independent
             recollection of the precise contents of the conversation.

      b.     Did you speak to Mr. McGahn about Mr. Porter’s instructions from the President?

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.




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      c.     If yes, describe the substance of your conversation with Mr. McGahn about the
             President’s instructions to write a letter disputing that he was never ordered to
             terminate the Special Counsel.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

80.   Page 116 of the Report states that on February 6, 2018, Mr. McGahn met with the
      President in the Oval Office to discuss the New York Times article.

      a.     Do you have personal knowledge regarding the discussions that occurred during
             this meeting? If yes, describe those discussions.

             RESPONSE: I am aware of these discussions. I was not present in the Oval
             Office for any such discussion on or about February 6, 2018, but I subsequently
             learned of it.

             In addition, the White House has directed that I not provide any further answer to
             this question because of the constitutionally-based Executive Branch
             confidentiality interests that are implicated.

      b.     Did you ever speak to Mr. McGahn about what occurred during this meeting? If
             yes, describe your conversation with Mr. McGahn about this subject.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

81.   Page 116 of the Report states that on the morning of February 6, 2018, the President’s
      personal counsel called Mr. McGahn’s attorney and said that “the President was going to
      be speaking with McGahn and McGahn could not resign no matter what happened in the
      meeting.”

      a.     Do you have personal knowledge regarding this call? If yes, describe what was
             said on the call.

             RESPONSE: I was not present for any such telephone call on or about February
             6, 2018. I do not, today, have an independent recollection of whether I
             subsequently learned of it.

      b.     Did you speak with Mr. McGahn about this event? If yes, describe your
             conversation with Mr. McGahn about this subject.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.



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82.   State each date on which you were interviewed by the Special Counsel, who was present
      for those interviews and where those interviews took place.

      RESPONSE: I was interviewed on November 6, 2017, and April 2, 2018.

      Present were my personal counsel and representatives from the Special Counsel’s Office.

      Those interviews took place in a Department of Justice office.

83.   Were you or your counsel provided any documents in advance of your interviews with
      the Special Counsel by the White House?

      RESPONSE: Yes.

      a.     If so, who provided those documents, what documents were provided and where
             are those documents now.

             RESPONSE: The White House has directed that I not respond to this question
             because of the constitutionally-based Executive Branch confidentiality interests
             that are implicated.

84.   Were you or your counsel provided any documents in advance of your interviews with
      the Special Counsel by the Special Counsel’s Office? If so, who provided those
      documents, what documents were provided and where are those documents now.

      RESPONSE: No.

85.   Did anyone at the White House, including the President, direct you not to answer any
      questions during those interviews?

      RESPONSE: No. I was encouraged by the White House to cooperate fully with
      the Special Counsel’s Office.

86.   Did anyone at the White House, including the President, direct you not to provide or
      discuss any documents during those interviews?

      RESPONSE: No. I was encouraged by the White House to cooperate fully with
      the Special Counsel’s Office.

87.   Did anyone invoke privilege over any of your testimony to the Special Counsel’s Office?

      RESPONSE: As to my role as a private attorney advising the Trump campaign,
      the Trump campaign has not waived attorney-client privilege in connection with
      my provision of a voluntary statement to the Special Counsel’s Office.

      As to my employment at the White House, I was advised and understood that the
      position of the White House and the Department of Justice was that an interview
      with the Special Counsel, as a subordinate Executive Branch officer to the
      President, did not implicate constitutionally-protected Executive Branch


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      confidentiality interests and therefore my participation would not constitute a
      waiver of executive privilege for other purposes.

88.   Did you ever discuss these interviews with the President? If yes, describe those
      discussions.

      RESPONSE: No.

89.   Did you discuss the substance of your interviews with anyone outside the Special
      Counsel’s Office or your attorney? If yes, describe those discussions.

      RESPONSE: No.

90.   Did you ever witness President Trump asking anyone to make a statement that was not
      true during your time at the White House?

      RESPONSE: I did not witness the President direct anyone to make any
      statement that was, to my knowledge, untrue.

91.   When was the last time you spoke with the President? Who initiated that contact and
      what was discussed?

      RESPONSE: I last spoke with the President when I posed for a “departure
      photo” with him in the Oval Office shortly before leaving my employment at the
      White House. The President and I exchanged pleasantries and he thanked me for
      my service, but as far I recall, we had no substantive discussions.

92.   Has anyone from the President’s legal team, staff or his family reached out to you about
      your answers to these questions? If yes, who contacted you and what was said?

      RESPONSE: No.




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